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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                    §
                                              §
                      Plaintiff,              §
                                              §       Criminal No. 3:09-CR-249-D (17)
 VS.                                          §
                                              §
 MILOS VUJANIC,                               §
                                              §
                      Defendant.              §

                                   MEMORANDUM OPINION
                                       AND ORDER

        Defendant Milos Vujanic (“Vujanic”) moves to disqualify Assistant United States

 Attorney Candina S. Heath (“AUSA Heath”) on the ground that she may be called as a

 witness. The court denies the motion.

                                                  I

        On June 25, 2012 and January 3, 2013, in connection with the government’s efforts

 to extradite Vujanic from France following his arrest there, AUSA Heath executed an

 affidavit and a supplemental affidavit in support of request for extradition (collectively, the

 “Extradition Affidavits”). Vujanic moves to disqualify AUSA Heath from acting as a

 prosecutor in this case, arguing that because she has “vouch[ed] for and endors[ed] factual

 evidence in the Extradition Affidavits,” she may be called as a witness. D. Br. [3]. Vujanic

 maintains that “AUSA Heath has injected herself as a witness in this prosecution by

 vouching for and endorsing factual evidence in the Extradition Affidavits which, in the

 Government’s view, establishes Defendant’s guilt in this case.” Id. He contends that the
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 “advocate witness rule” mandates that AUSA Heath voluntarily withdraw from her

 representation of the government in this prosecution, or, failing her voluntary withdrawal,

 she should be disqualified and a new prosecutor appointed.

        The government responds that AUSA Heath executed the Extradition Affidavits, not

 as a witness in the case, but in her role as an advocate, to secure Vujanic’s extradition. It

 maintains that AUSA Heath executed the Extradition Affidavits under oath before a

 magistrate judge to satisfy the administrative requirements of the U.S. Department of Justice,

 the Office of International Affairs, and France, the extraditing country. The government

 contends that the Extradition Affidavits relate solely to Vujanic’s extradition proceedings and

 are not admissible in, or relevant to, Vujanic’s trial; AUSA Heath “is not and will not be a

 ‘witness necessary to establish an essential fact’ on behalf of the government,” Gov’t Br. 3

 (emphasis omitted) (quoting Tex. Disciplinary R. Prof’l Conduct 3.08); and, even if the court

 views the Extradition Affidavits as “testimonial,” they relate to a formal administrative

 matter and their substantive content is uncontested.

                                               II

        “‘[D]isqualification cases are governed by state and national ethical standards adopted

 by the court.’” United States v. Starnes, 157 Fed. Appx. 687, 693 (5th Cir. 2005) (per

 curiam) (alteration in original) (quoting FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304 (5th Cir.

 1995)). Texas Disciplinary Rule of Professional Conduct 3.08(a) states:

               A lawyer shall not accept or continue employment as an
               advocate before a tribunal in a contemplated or pending
               adjudicatory proceeding if the lawyer knows or believes that the

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               lawyer is or may be a witness necessary to establish an essential
               fact on behalf of the lawyer’s client, unless . . . the testimony
               relates to an uncontested issue [or] the testimony will relate
               solely to a matter of formality and there is no reason to believe
               that substantial evidence will be offered in opposition to the
               testimony[.]

 Tex. Disciplinary R. Prof’l Conduct 3.08(a), reprinted in Tex. Gov’t Code Ann., tit. 2, subtit.

 G, app. A, Art. 10, § 9 (West 2013). Similarly, Rule 3.7(a) of the American Bar Association

 Model Rules of Professional Conduct provides, in relevant part:

               A lawyer shall not act as an advocate at a trial in which the
               lawyer is likely to be a necessary witness unless:
                     (1) the testimony relates to an uncontested issue;
                     (2) the testimony relates to the nature and value of
                     legal services rendered in the case; or
                     (3) disqualification of the lawyer would work
                     substantial hardship on the client.

 Model Rules of Prof’l Conduct R. 3.7(a) (2014). These “lawyer-as-witness” rules are not

 implicated, however, “unless the lawyer ‘is likely to be a necessary witness.’” Starnes, 157

 Fed. Appx. at 693 (quoting United States v. Watson, 87 F.3d 927, 932 (7th Cir. 1996)). “A

 lawyer is not ‘likely to be a necessary witness’ when evidence pertaining to each matter to

 which [she] could testify is available from another source.” Id. (citing Horaist v. Doctor’s

 Hosp. of Opelousas, 255 F.3d 261, 267 (5th Cir. 2001)); see also Horaist, 255 F.3d at 267

 (holding that, because lawyer’s potential testimony was cumulative of other evidence, lawyer

 was not necessary witness and trial court did not err in refusing to disqualify him).

        The government contends that AUSA Heath is not, and will not be, a necessary

 witness in the trial of this case, and the court finds and concludes that Vujanic has not


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 established otherwise. Vujanic cites the following as examples of the instances involving

 AUSA Heath’s expected testimony:

        1.     It is alleged that Defendant did or was involved in some things
               in Dallas when he was actually in Europe;

        2.     Defendant is alleged to be included in certain communications
               or discussions with others, in contradiction to some of the
               Government’s allegations in the latest indictment;

        3.     Defendant is alleged to be a citizen and have a passport from
               countries where he has neither citizenship nor a passport;

        4.     Defendant is alleged to have participated in a conspiracy to
               defraud, understanding that it was illegal, from the moment he
               met the co-Defendants until they were arrested.

 D. Br. [3] (bullet points replaced by numerals). But Vujanic has not shown that the examples

 he cites, or any other evidence on which the government will rely at trial, is unavailable from

 a source other than AUSA Heath. See Starnes, 157 Fed. Appx. at 694; see also In re Duke

 Invs., Ltd., 454 B.R. 414, 423 (Bankr. S.D. Tex. 2011) (noting that, under Tex. Disciplinary

 R. Prof’l Conduct 3.08(a), “a movant has the burden of showing that the attorney’s testimony

 is ‘necessary to establish an essential fact on behalf of the [non-movant attorney’s] client,’

 and the movant must explain why ‘other sources revealed in the record,’ such as the

 testimony of other witnesses or other pertinent records in evidence, are insufficient.”

 (citations omitted)). Accordingly, Vujanic’s motion to disqualify is denied.




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                                      *    *     *

       Vujanic’s June 20, 2014 motion to disqualify is denied.

       SO ORDERED.

       August 6, 2014.



                                          _________________________________
                                          SIDNEY A. FITZWATER
                                          CHIEF JUDGE




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